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 6 BYTON NORTH AMERICA CORPORATION

 7

 8                       UNITED STATES DISTRICT COURT

 9                     NORTHERN DISTRICT OF CALIFORNIA
10                           SAN FRANCISCO DIVISION
11

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13 EDAG ENGINEERING GMBH,                 Case No. 3:21-cv-04736-EMC
14
             Petitioner,                  RESPONDENT BYTON NORTH
15                                        AMERICA CORPORATION’S
        vs.                               OPPOSITION TO PETITIONER EDAG
16                                        ENGINEERING GMBH’S EX PARTE
                                          APPLICATION FOR THE ENTRY OF AN
17 BYTON NORTH AMERICA
   CORPORATION,                           ORDER AUTHORIZING EDAG
18                                        ENGINEERING GMBH TO REGISTER
             Respondent.                  THE JUDGMENT IN OTHER DISTRICTS
19                                        [DOCKET ENTRY 42]
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     BYTON’S OPPOSITION TO EDAG’S EX PARTE APPLICATION; Case No. 3:21-cv-04736-
                                      EMC
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 1         Respondent Byton North America Corporation (“Byton”) hereby respectfully opposes the ex

 2 parte application of Petitioner EDAG Engineering GMBH (“EDAG”) for the entry of Order

 3 authorizing EDAG Engineering GMBH to register “the judgment” in other districts [Docket Entry

 4 42]. The grounds for Byton’s Opposition are the following:

 5         1. Notice Of The Ex Parte Application Was Defective.

 6             The caption page of the ex parte application purports to set the application for hearing on

 7             December 6, 2021. However, the application was not filed until December 7, 2021, the

 8             day after the purported hearing date. EDAG’s defective notice alone should result in the

 9             denial of the application.
10         2. The Ex Parte Application Is Procedurally Improper Under Local Rule 7-10.

11         Northern District of California Local Rule 7-10 provides as follows:

12         7-10. Ex Parte Motions. Unless otherwise ordered by the assigned Judge, a party may file an
13         ex parte motion, that is, a motion filed without notice to opposing party, only if a statute,
14         Federal Rule, local rule, or Standing Order authorizes ex parte filing. The motion must
           include a citation to the statute, rule, or order which permits the use of an ex parte motion to
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           obtain the relief sought.
16
     (Emphasis supplied.)
17
           EDAG’s ex parte application fails to cite to a statute, Federal Rule, local rule, or Standing
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     Order authorizing the ex parte filing, nor is there any federal statute, rule, or order of which Byton
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     is aware which would authorize the use of an ex parte application to obtain the relief being sought
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21 by EDAG. As such, EDAG’s ex parte application should be denied. The relief being sought by

22 EDAG in its ex parte application can be sought by way of a properly noticed motion which would

23 afford Byton a full and fair opportunity to address the hyperbole and mischaracterizations in

24 EDAG’s ex parte application.

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           3. The Ex Parte Application Is Premature.
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           EDAG seeks an order allowing it to register a judgment under 28 U.S.C. § 1963 on an
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     expedited basis.
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      BYTON’S OPPOSITION TO EDAG’S EX PARTE APPLICATION; Case No. 3:21-cv-04736-
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 1         28 U.S.C. § 1963 provides in relevant part as follows:

 2         A judgment in an action for the recovery of money or property entered in any court of
 3         appeals, district court, bankruptcy court, or in the Court of International Trade may be
 4         registered by filing a certified copy of the judgment in any other district or, with respect to
           the Court of International Trade, in any judicial district, when the judgment has become
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           final by appeal or expiration of the time for appeal or when ordered by the court that entered
 6
           the judgment for good cause shown.
 7
     (Emphasis supplied.)
 8
           Here, no judgment has yet been entered against Byton. If and when a judgment has been
 9
     entered against Byton, EDAG can seek to revisit the issues raised by this ex parte application.
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11         For the foregoing reasons, EDAG’s ex parte application should be denied.

12                                              Respectfully Submitted,

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     Dated: December 8, 2021                    VAN ETTEN SIPPRELLE LLP
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15
                                                By:
16                                                    Keith A. Sipprelle
                                                      Attorneys for Respondent
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                                                      BYTON NORTH AMERICA CORPORATION
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      BYTON’S OPPOSITION TO EDAG’S EX PARTE APPLICATION; Case No. 3:21-cv-04736-
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